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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, )
) .
Vv. ) DOCKET NO.:: 4:16-CR00408-006
)
) United States Courts
) Southern District of Texas
SCOTT RUSSELL SIECK, ) FILED
Defendant. )
DEC 10 2021

" -_DEFENDANT’S MOTION FOR JUDICIAL RECOMMENDATION
REGARDING BUREAU OF PRISONS PLACEMEN®! Ochsner, Clerk of Cou
COMES NOW, Scott Russell Sieck, Defendant in the above styled criminal case, and
proceeding Pro Se, respectfully moves the Court for a judicial recommendation to the Bureau of
Prisons that he serve his criminal sentence at the Federal Prison Camp located in Pensacola,
Florida, showing the Honorable Court the following:
1. On November 15, 2021, the Defendant was sentenced by this Court to serve a term of
imprisonment of 36 months plus three years of supervised release.
2. At the time of sentencing, the Court indicated, on the record, that it would recommend to the
Bureau of Prisons that the Defendant be placed at a BOP facility near’ Orlando, Florida. To date,
~ “the Defendant-has not been designated to any particular Federal Bureau of Prisons facility and
has not been given a specific date or time to surrender.
3. The Defendant’s mother, who is elderly, and his brother both reside in southern Alabama. The
Defendant has now discovered that given the proximity to his family, FPC Pensacola would be
the best designation for him to serve his sentence since it is less than 500 miles from his family
members rather than another institution farther away. This is especially important to the

Defendant given his mothers’ advanced age. Allowing the Defendant to serve his sentence at
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FPC Pensacola would permit him maintain close contact with her as well as maintain a strong
relationship with the other members in his family.
WHEREFORE, for good cause shown, the Defendant respectfully requests that this Court

recommend to the Bureau of Prisons that the Defendant be placed at FPC-Pensacola for the

service of his sentence.

day of December, 2021.

 

 

Scott Russell Sieck
Defendant Pro Se

1624 Tioga Trail

Winter Park, Florida 32789

Email: srsieck@gmail.com
Phone: 407-448-0010 [Cellular]
 

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. Case 4:16-cr-00
” Mr. Scott R. Sieck

1624 Tioga Trl .

Winter Park, FL 32789-1346

  
      
   

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Mathan Ochsner, Clerk of Court
